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                        UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF KENTUCKY
                          BOWLING GREEN DIVISION
                   CRIMINAL ACTION NO. 1:09-CR-00026-TBR-18


     MICHAEL TROY WHITE                                                     Movant/Defendant
     (Defendant No. 18)

     v.

     UNITED STATES OF AMERICA                                              Respondent/Plaintiff



                                             ORDER

            This matter is before the Court upon Movant/Defendant Michael Troy White’s pro

     se motion to vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255.

     (Docket Nos. 1197; 1206; 1210.) The Court referred this matter to the Magistrate Judge

     pursuant to 28 U.S.C. § 636(b)(1) for his findings of fact, conclusions of law, and

     recommendation, (Docket No. 1216), which the Magistrate Judge issued on May 14,

     2013, (Docket No. 1325). Included with the Magistrate Judge’s decision was written

     notice that any objections must be filed within 14 days and that the failure to timely file

     objections would waive the right to further appeal. (See Docket No. 1325, at 22.) No

     objections have been filed by either party, and the time to do so has now passed. Several

     days after the Magistrate Judge issued his recommendation, the Sixth Circuit issued its

     decision in United States v. Blewett, ---F.3d---, 2013 WL 2121945 (6th Cir. May 17,

     2013). Having considered the Magistrate Judge’s recommendation in light of Blewett,

     and being otherwise sufficiently advised;


            IT IS HEREBY ORDERED as follows:


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              (1) The Court ADOPTS IN PART the Magistrate Judge’s Findings of
                  Fact and Conclusions of Law. (Docket No. 1325.) The Court
                  adopts the Magistrate Judge’s Findings of Fact in full. The Court
                  adopts the Magistrate Judge’s Conclusions of Law in full, with the
                  exception of the final sentence beginning on page 18 and
                  continuing onto page 19, (Docket No. 1325, at 18-19 (“Moreover .
                  . . minimum.”)), because the Court finds that conclusion contrary
                  to the Sixth Circuit’s recent decision in Blewett;

              (2) Movant/Defendant White’s motion to vacate under 28 U.S.C.
                  § 2255, (Docket Nos. 1197; 1206; 1210), is DENIED;

              (3) Movant/Defendant White is DENIED a Certificate of
                  Appealability as to each claim asserted in his motion to vacate,
                  (Docket Nos. 1197; 1206; 1210).

     IT IS SO ORDERED.

     Date: June 18, 2013



     cc:      AUSA
              Michael Troy White, pro se




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